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                                  United States District Court                             FILED
                                        Western District of Texas                       Apr 16 2024
                                           El Paso Division                          Clerk, U.S. District Court
                                                                                        Western District of
                                                                                              Texas

                                                                               By:            MVM
                                                                                                       Deputy
UNITED STATES OF AMERICA                        §
                                                §
vs.                                             § Case Number: EP:24-M -01162(1)RFC
                                                §
(1) BASEL BASSEL EBBADI                         §
                                                §
  Defendant
          ORDER SETTING STATUS/ PLEA AND SENTENCE
           IT IS HEREBY ORDERED that the above entitled and numbered case is set for
STATUS/ PLEA AND SENTENCE in Magistrate Courtroom, Room 612, on the 6th Floor of the
United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:
                             Friday, April 26, 2024 at 10:00 AM

            IT IS FURTHER ORDERED that the Clerk of the Court shall send a copy of this
order to counsel for defendant, the United States Attorney, United States Pretrial Services and
the United States Probation Office, and any surety or custodian, if applicable. Further, counsel
for the defendant shall notify the defendant of this setting and, if the defendant is on bond, advise
the defendant to be present at this proceeding.

            In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is
hereby notified of and ordered to comply with (1) the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of
violating this Order, which may include sanctions such as delay of trial or other proceedings, the
exclusion of evidence, the giving of adverse jury instructions, the grant of new trial, the
dismissal of an action, or finding in contempt.

IT IS SO ORDERED this 16th day of April, 2024.



                                                 ______________________________
                                                 ROBERT F. CASTANEDA
                                                 UNITED STATES MAGISTRATE JUDGE
